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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                                  Case No.

  VENUS CONCEPT USA INC., a
  Delaware corporation,

           Plaintiff,
  v.

  VITAHYDR8, LLC D/B/A
  VITAHYDR8 BEAUTY & WELLNESS BAR
  an Arizona Limited Liability Company and
  ARTENCIA MICHELEI MARTIN,
  Individually.

        Defendants.
  ___________________________________/

                                               COMPLAINT

           Plaintiff, VENUS CONCEPT USA INC. (“Plaintiff”), by and through the undersigned

  counsel, hereby files the instant Complaint against Defendants, VITAHYDR8, LLC D/B/A

  VITAHYDR8 BEAUTY AND WELLNESS BAR (“Vitahydr8”) and ARTENCIA MICHELEI

  MARTIN (“Martin”) (collectively, the “Defendants”), for damages and equitable relief and, as

  grounds therefore, states, asserts, and alleges as follows:

                                      JURISDICTION AND VENUE

           1.        This is an action for damages and other related relief that exceeds Seventy-Five

  Thousand and 00/100 ($75,000.00) Dollars, exclusive of interest, costs, and attorneys’ fees.

           2.        This Court has subject matter jurisdiction pursuant to 28 U.S.C.§ 1332 on the basis

  of the amount in controversy exceeding Seventy-Five Thousand and 00/100 ($75,000.00) Dollars

  and Plaintiff and Defendants being citizens of different States as outlined below.




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           3.        Venue is proper in the Southern District of Florida since the parties agreed to

  litigate their claims in Miami-Dade County, Florida pursuant to the Subscription Agreements that

  are subject to this action.

           4.        Plaintiff is a Delaware corporation conducting business in Miami-Dade County,

  Florida and with its principal place of business located in Florida.

           5.        Vitahydr8 is a limited liability Company in Mesa, Arizona.

           6.        Martin is a sui juris individual over the age of eighteen (18) who resides in Mesa,

  Arizona and is the owner of Vitahydr8 and conducted business in and who has guaranteed the

  performance of Vitahydr8’s obligations under the Subscription Agreement that is the subject of

  this action.

                                          Introductory Statement

           7.        Plaintiff is a medical aesthetic device company in the business of developing,

  commercializing and delivering minimally invasive and non-invasive medical aesthetic and hair

  restoration technologies and devices to its consumers, such as the Defendants. In or around August

  2019, Plaintiff provided and delivered its “Venus Versa” system, as well as additional supplies

  and goods to the Defendants, to which the Defendants received and accepted. As is explained in

  greater detail below, Defendants failed to provide Plaintiff the benefit of their bargain and have

  failed to adequately compensate Plaintiff the reasonable value of the goods and services the

  Defendants have received, accepted, and enjoyed.

                                       GENERAL ALLEGATIONS

           8.        Plaintiff and Vitahydr8 entered into and executed the “Subscription Agreement”

  dated August 29, 2019 (“Subscription Agreement”) whereby Plaintiff promised to deliver certain

  medical aesthetic device(s), supplies and services (collectively the “Goods”) in consideration for




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  Vitahydr8’s promise to pay the “Aggregate Amount” of Ninety-Eight Thousand Five Hundred

  Fifty-Three and 00/100 ($98,553.00) Dollars in certain monthly installments listed in the

  Subscription Agreement. A true and correct copy of the Subscription Agreement is attached hereto

  as Exhibit “A” and is incorporated into, adopted, and made a part hereof through this reference.

           9.        On the same day as the execution of the Subscription Agreement, Martin executed

  and delivered a Guaranty to Plaintiff (“Guaranty”), wherein Martin guaranteed the full payment

  and punctual performance of all obligations of Vitahydr8 under the Subscription Agreement. A

  true and correct copy of the Guaranty is included within the Subscription Agreement attached

  hereto and incorporated within Exhibit “A”.

           10.       Plaintiff delivered all supplies and materials listed in the Subscription Agreement

  to the Defendants, to which Defendants received and accepted.

           11.       Pursuant to the terms of the Subscription Agreement, Defendants owe Plaintiff, an

  aggregate amount of One Hundred Nine Thousand Eight Hundred Thirty-Five and 67/100

  ($109,835.67) Dollars consisting of the remaining value of the Subscription Agreement, plus

  interest due on all amounts past due at a rate of eighteen (18%) percent per annum, compounded

  monthly which has accrued since March 20, 2020.

           12.       Defendants’ failure to make any of the requisite payments due and owing since

  March 20, 2020 constitutes an event of “Default” under the Subscription Agreement. See

  Subscription Agreement, § 13.a. (“Each of the following is a material default by [the Defendants]:

  The [Defendants] fail[] to make any payment or pay any other amounts due under this Agreement

  . . . within ten (10) days after the same is due and payable[.]”).

           13.       Upon the happening of a Default, the Subscription Agreement allows for and

  provides Plaintiff with the right to immediately terminate same and to accelerate any and all




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  payments remaining under the Subscription Agreement that would not have otherwise been due

  and owing but for the Default:

                     14. Effect of Default – In the event of any Default, [Plaintiff] may
                     take any one of the following actions (separately or cumulatively):
                     (i) terminate this Agreement with immediate effect and in such case
                     the provisions of Section 15 below shall apply . . .

                     15. Effect of Termination or Expiration – In the event of
                     termination or expiration of this Agreement, the following shall
                     apply:

                     The [Defendants] shall pay forthwith (without notice) to [Plaintiff]
                     as liquidated damages, and not as a penalty, an amount . . . equal to
                     the aggregate of:

                            (i) Unpaid payments and other amounts payable hereunder
                            and unpaid as of the date of Default [(i.e., March 20,
                            2020)], and

                            (ii) The unpaid value of:

                                    (A) Any remaining Monthly Installment payable
                                    from the date of Default, and

                                    (B) Amounts otherwise           payable    under    the
                                    Agreement, and

                            (iii) Any Enforcement Costs [(which include “all costs and
                            expenses in respect of collection, legal fees, repossession,
                            repair of System, enforcement of [Plaintiff’s] rights or
                            remedies, sale[,] or re-lease costs or other realization costs)]
                            incurred by [Plaintiff], and

                            (iv) Interest thereon [(at the rate of eighteen percent (18%)
                            per annum)] from the date of the Default [(i.e., March 20,
                            2020)] until payment in full.

  Subscription Agreement, §§ 14-15 (emphasis added).

           14.       In connection with the above-quoted language, and because Defendants defaulted

  by failing to pay all amounts due by their respective due dates or any time thereafter, Plaintiff, by

  and through the undersigned counsel, delivered a Notice of Termination dated June 10, 2021 to



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  Defendants terminating the Subscription Agreement and demanding payment of any and all

  amounts due under same, including interest, costs, and attorneys’ fees, as is allowable under the

  clear and unambiguous language of the Subscription Agreement (“Notice of Termination”). A

  true and correct copy of the Notice of Termination is attached hereto as Exhibit “B” and is

  incorporated into, adopted, and made a part hereof through this reference.

           15.       As of June 10, 2021, Defendants — jointly and severally — owe Plaintiff: One

  Hundred Nine Thousand Eight Hundred Thirty-Five and 67/100 ( $109,835.67) Dollars, consisting

  of the remaining value of the Subscription Agreement, plus interest due on all amounts past due at

  a rate of eighteen (18%) percent per annum, compounded monthly which has accrued since March

  20, 2020.

           16.       All conditions precedent to filing this action have been met by Plaintiff or have

  otherwise been waived or excused by Defendants.

           17.       Plaintiff has retained the undersigned counsel to bring this action and has agreed to

  pay a reasonable fee for said attorneys’ fees and costs; and Plaintiff is entitled to recover its

  attorneys’ fees, costs, and expenses for bringing this action.

                                 COUNT I – BREACH OF CONTRACT

           18.       Plaintiff hereby realleges, restates, reasserts, and incorporates the allegations

  contained in paragraphs one (1) through seventeen (17) as if set forth at length herein.

           19.       This is an action against Defendants, jointly and severally, for breach of the

  Subscription Agreement.

           20.       Plaintiff and Defendants entered into and executed the Subscription Agreement.

           21.       Plaintiff fully performed under the Subscription Agreement by providing

  Defendants with the Goods.




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           22.       Defendants have defaulted under and materially breached the Subscription

  Agreement by failing and refusing to pay the remaining amounts due and owing to Plaintiff

  pursuant to same.

           23.       Plaintiff has suffered damages as a result of Defendants’ material breach of the

  Subscription Agreement.

           24.       Defendants owe the Plaintiff, an aggregate amount of One Hundred Nine Thousand

  Eight Hundred Thirty-Five and 67/100 ($109,835.67) Dollars, consisting of the remaining value

  of the Subscription Agreement, plus interest due on all amounts past due at a rate of eighteen (18%)

  percent per annum, compounded monthly which has accrued since March 20, 2020.

           WHEREFORE, Plaintiff, VENUS CONCEPT USA INC., respectfully requests and hereby

  demands judgment for liquidated damages in the sum of One Hundred Nine Thousand Eight

  Hundred Thirty-Five and 67/100 ($109,835.67) Dollars against Defendants, VITAHYDR8, LLC

  and ARTENCIA MICHELEI MARTIN, jointly and severally, together with post-judgment

  interest, attorneys’ fees, and costs, as well as any additional relief this Honorable Court deems

  necessary, reasonable, equitable, just, and/or proper.

                                COUNT II – BREACH OF GUARANTY

           25.       Plaintiff hereby realleges, restates, reasserts, and incorporates the allegations

  contained in paragraphs one (1) through seventeen (17) as if set forth at length herein.

           26.       This is an action against Martin for breach of the Guaranty.

           27.       Martin has guaranteed the performance of Vitahydr8’s obligations under the

  Subscription Agreement.

           28.       As a result of Defendants’ breach and default under the Subscription Agreement,

  Martin is obligated to pay all amounts due and owing Plaintiff under the Subscription Agreement.




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            29.      Plaintiff has demanded that Martin pay to Plaintiff the amounts due and owing

  under the Subscription Agreement; however, Martin has failed to make the required payments.

            30.      Martin has breached the Guaranty by failing and refusing to pay Plaintiff the

  amounts due and owing Plaintiff under the Subscription Agreement.

            31.      Plaintiff has suffered damages as a result of Martin’s breach of Guaranty.

            WHEREFORE, Plaintiff, VENUS CONCEPT USA INC., respectfully requests and hereby

  demands judgment for liquidated damages in the sum of One Hundred Nine Thousand Eight

  Hundred Thirty-Five and 67/100 ($109,835.67) Dollars against Defendant ARTENCIA

  MICHELEI MARTIN, together with post-judgment interest, attorneys’ fees, and costs, as well as

  any additional relief this Honorable Court deems necessary, reasonable, equitable, just, and/or

  proper.

                                 COUNT III – UNJUST ENRICHMENT

            32.      Plaintiff hereby realleges, restates, reasserts, and incorporates the allegations

  contained in paragraphs one (1) through seventeen (17) as if set forth at length herein.

            33.      This is an action against Defendants, jointly and severally, for unjust enrichment.

            34.      Plaintiff conferred to the appreciation of Defendants certain benefits in the form of

  highly advanced, sophisticated, and costly medical aesthetic equipment, devices, and supplies.

            35.      Defendants accepted and retained said benefits under circumstances which make it

  inequitable for them to have retained same without paying the value of the benefits received.

            WHEREFORE, the Plaintiff, VENUS CONCEPT USA INC., respectfully requests and

  hereby demands judgment against Defendants, VITAHYDR8, LLC and ARTENCIA MICHELEI

  MARTIN, jointly and severally, for damages, prejudgment interest, attorneys’ fees and costs, as




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  well as any additional relief this Honorable Court deems necessary, reasonable, equitable, just,

  and/or proper.

                                     COUNT IV – OPEN ACCOUNT

           36.       Plaintiff hereby realleges, restates, reasserts, and incorporates the allegations

  contained in paragraphs one (1) through seventeen (17) as if set forth at length herein.

           37.       This is an action against Defendants, jointly and severally, for open account.

           38.       At the time of filing this action, Defendants owe Plaintiff on open account One

  Hundred Nine Thousand Eight Hundred Thirty-Five and 67/100 ($109,835.67) Dollars consisting

  of the remaining value of the Subscription Agreement, plus interest on all amounts past due at a

  rate of eighteen (18%) percent per annum, compounded monthly which has accrued since March

  20, 2020.

           39.       A true and correct copy of Plaintiff’s Statement evidencing the outstanding and

  open account is attached hereto as Exhibit “C” and is incorporated into, adopted, and made a part

  hereof through this reference.

           WHEREFORE, the Plaintiff, VENUS CONCEPT USA INC., respectfully requests and

  hereby demands judgment for liquidated damages in the sum of One Hundred Nine Thousand

  Eight Hundred Thirty-Five and 67/100 ($109,835.67) Dollars, against Defendants, VITAHYDR8,

  LLC and ARTENCIA MICHELEI MARTIN, jointly and severally, together with post-judgment

  interest, attorneys’ fees, and costs, as well as any additional relief this Honorable Court deems

  necessary, reasonable, equitable, just, and/or proper.

                                    COUNT V – ACCOUNT STATED

           40.       Plaintiff hereby realleges, restates, reasserts, and incorporates the allegations

  contained in paragraphs one (1) through seventeen (17) as if set forth at length herein.




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           41.       This is an action against Defendants, jointly and severally, for account stated.

           42.       Before the institution of this action, Plaintiff and Defendants had business

  transactions between them whereby they agreed to the resulting balance as demonstrated by

  Defendants’ signatures and execution of the Subscription Agreement and Plaintiff’s furnishing and

  tender of the Goods. True and correct copies of Plaintiff’s Invoices evidencing the agreed upon

  balance are attached hereto as Exhibit “D” and are incorporated into, adopted, and made a part

  hereof through this reference.

           43.       Defendants agreed and consented to the monthly installments of the Aggregate

  Amounts listed in the Subscription Agreement by accepting the Goods and paying a portion of the

  amounts due and owing from the execution of the Subscription Agreement until March 20, 2020.

           44.       Defendants never objected to the amounts due and owing Plaintiff and thereby

  agreed to the resulting balance of same.

           45.       Defendants have not paid the balance due after a reasonable time and have refused

  to pay, even though Plaintiff has made demand for payment upon the Defendants.

           46.       Defendants remain liable to compensate Plaintiff the outstanding balance of One

  Hundred Nine Thousand Eight Hundred Thirty-Five and 67/100 ($109,835.67) Dollars.

           WHEREFORE, Plaintiff, VENUS CONCEPT USA INC., respectfully requests and hereby

  demands judgment for liquidated damages in the sum of One Hundred Nine Thousand Eight

  Hundred Thirty-Five and 67/100 ($109,835.67) Dollars against Defendants, VITAHYDR8, LLC

  and ARTENCIA MICHELEI MARTIN, jointly and severally, together with post-judgment

  interest, attorneys’ fees, and costs, as well as any additional relief this Honorable Court deems

  necessary, reasonable, equitable, just, and/or proper.

                                         COUNT VI – REPLEVIN




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            47.       Plaintiff hereby realleges, restates, reasserts, and incorporates the allegations

   contained in paragraphs one (1) through seventeen (17) as if set forth at length herein.

            48.       To the extent this Honorable Court denies any and/or all of Plaintiff’s prior claims

   and causes of action, this is an action against Defendants for replevin.

            49.       Upon best information and belief, Defendants are in possession of the Goods.

            50.       The Goods are being wrongfully detained and withheld by Defendants.

            51.       Plaintiff is entitled to possession of the Goods pursuant to their interest in Section

   15 of the Subscription Agreement.

            52.       The Goods have not been taken for a tax, assessment, or fine pursuant to the law.

            53.       The Goods have not been taken under an execution or attachment against the

   property of Plaintiff for a tax, assessment, or fine pursuant to the law.

            54.       Plaintiff has demanded the return of the Goods and Defendants have failed and

   refused to return same.

            WHEREFORE, Plaintiff, VENUS CONCEPT USA INC., respectfully requests and hereby

   demands judgment for possession of the Goods from Defendants, VITAHYDR8, LLC and

   ARTENCIA MICHELEI MARTIN, and damages together with attorneys’ fees, costs, and any

   additional relief this Honorable Court deems necessary, reasonable, equitable, just, and/or proper.



                                  [SIGNATURE ON FOLLOWING PAGE]




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   DATED: June 18, 2021.                 Respectfully submitted,

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